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                             UNITED STATES        21-2
                                           DISTRICT    Filed 05/16/25
                                                    COURT                      Page 1 of 2
                      WESTERN DISTRICT OF PENNSYLVANIA

 NGBO BONNY E-HOME CO.,                         Case No. 2:24-cv-00568
         LTD.
                                         PROPOSED DEFAULT ORDER

         Plaintiff,
            v.

ONDWAY, POOLCLEAN US
STORE, USA WAREHOUSE,
OWANJIE, INPOOL US STORE,
   DEWFOND, DIGIGER,
 OTOBUDDY STORE, and et al.
   Individual, Partnerships
        Defendants.




                         PROPOSED DEFAULT ORDER


                         Plaintiff has applied for an Order of Default against all of the
                      Defendants except Motobuddy on the basis that they have each
                      been served with the Complaint and Summons but have not
                      answered or otherwise defended in this case. Plaintiff attorney
                      has provided a declaration of the supporting facts.
                         Accordingly, the Clerk of Court is hereby Ordered to enter
                      default against the following Defendants in this matter:
                      ONDWAY, POOLCLEAN US STORE, USA WAREHOUSE,
                      BOWANJIE, INPOOL US STORE, DEWFOND, and
                      DIGIGER.
                         So ordered, Cathy Bisson, Judge
                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA
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